      USDC IN/ND case 3:18-cv-00580-JD document 25 filed 05/14/19 page 1 of 4


                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

 MARLIN R. BUCHTEL,

          Plaintiff,

 v.                                                            3:18-cv-00580-JD-MGG

 21ST MORTGAGE CORPORATION,

          Defendant.


         PLAINTIFF’S MOTION FOR EXTENSION OF DISCOVERY DEADLINE

        NOW comes MARLIN R. BUCHTEL (“Plaintiff”), by and through his attorneys Sulaiman

Law Group, Ltd. (“Sulaiman”), requesting that this Honorable Court enter an Order granting an

Extension of the Discovery Deadline, and in support states as follows:

1.      On July 31, 2018 the above-captioned civil action concerning the parties was filed by

        Plaintiff seeking redress for 21ST MORTGAGE CORPORATION’s (“Defendant”) alleged

        violations of the Telephone Consumer Protection Act (“TCPA”) and the Indiana Deceptive

        Consumer Sales Act (“IDCSA”).

2.      On October 2, 2018 this Honorable Court entered a Scheduling Order (Dkt. # 14) setting

        various deadlines, including the completion of Discovery by May 14, 2019.

3.      On October 9, 2018 Plaintiff through Sulaiman issued written discovery requests to

        Defendant including Requests to Produce and Plaintiff’s First Set of Interrogatories.

4.      Most pertinent to the instant Motion, Plaintiff issued Request to Produce #4 seeking:

                “Please produce any and all of Your records pertaining to Plaintiff and/or the
                individual or entity you were attempting to contact when placing calls to Plaintiff’s
                cellular phone number.”


                                                  1
      USDC IN/ND case 3:18-cv-00580-JD document 25 filed 05/14/19 page 2 of 4


5.      In response to Request to Produce #4 Defendant stated as follows:

               “Defendant refers Plaintiff to the collection history previously tendered with Initial
               Disclosures, as well as reports of search by dialed number for 8/1/16 through 8/7/18
               previously tendered with Initial Disclosures.”

6.      On May 7, 2019 Sulaiman took the deposition of Defendant’s corporate representative Jeff

        Warkins (“Warkins”), staff attorney for Defendant.

7.      During this deposition, Warkins was asked about a call which took place between the

        parties on July 10, 2018 which did not appear in the documents which Defendant produced.

        Defendant, through Warkins, for the first time, disclosed the possible existence of a call-

        log in Defendant’s possession which would address the July 10, 2018 call.

8.      On May 10, 2019 Defendant took the deposition of Plaintiff. During this deposition

        Defendant produced, for the first time, a call log which spoke to the existence of a July 18,

        2018 call between the parties.

9.      Due to the late production, four days before the current close of Discovery, Plaintiff has

        not had an opportunity to investigate the document or its veracity.

10.     The document speaks to a critical issue in the instant matter, the existence of a

        communication between the parties not reflected in Defendant’s account notes. As such,

        it is paramount to Plaintiff’s causes of action that he be allowed to engage in limited

        discovery as to this document.

11.     There is currently no deadline set for the parties to file dispositive motions or for a trial.

        Moreover, the parties have until August 31, 2019 to complete their Court-ordered

        mediation.

12.     Allowing additional limited to discovery to take place over this narrow issue will not delay

        these proceedings or alter any other deadlines.

                                                  2
      USDC IN/ND case 3:18-cv-00580-JD document 25 filed 05/14/19 page 3 of 4


13.     Sulaiman reached-out to counsel for Defendant regarding this Motion and requesting to

        speak about the outstanding issues. Counsel for Defendant responded via email stating that

        Defendant would oppose the Motion.

14.     This Motion is not intended for the purposes of delay, good cause exists for the extension

        of Discovery deadline, and no party would be unduly prejudiced. Further, such an

        extension would not result in any alteration to the currently established deadlines.

        WHEREFORE, Plaintiff MARLIN R. BUCHTEL respectfully request that this Honorable

Court enter an Order extending the Discovery deadline from May 14, 2019 until June 14, 2019,

and grant such other relief this Honroable Court deems equitable and just.


Dated: May 14, 2019                                  Respectfully submitted,



                                                      /s/ Nathan C. Volheim
                                                      Nathan C. Volheim
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                                                 3
    USDC IN/ND case 3:18-cv-00580-JD document 25 filed 05/14/19 page 4 of 4




                               CERTIFICATE OF SERVICE

        I, Nathan C. Volheim, an attorney, hereby certify that on May 14, 2019, the foregoing
PLAINTIFF’S MOTION FOR EXTENSION OF DISCOVERY DEADLINE was filed with
the Clerk of the Court of the United States District Court for the Northern District of Indiana by
using the CM/ECF system. I certify that all participants in this case are registered CM/ECF users
and that service will be accomplished by the CM/ECF system.


                                                    /s/ Nathan C. Volheim
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                                                4
